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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
JOSEPH R. CROSBY                   )

                                ORDER

    It is the ORDERED that defendant Joseph R. Crosby’s

motion to dismiss (doc. no. 2241) is denied as moot.

    DONE, this the 3rd day of February, 2012.



                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
